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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 21-60503-CIV-ALTMAN/Hunt

  EDUARDO GARCIA,

        Plaintiff,

  v.

  HEALTHCARE REVENUE
  RECOVERY GROUP, LLC,

        Defendant.
  _____________________________________/

                        ORDER OF DISMISSAL WITH PREJUDICE

        The Parties filed a Joint Stipulation of Dismissal [ECF No. 24] in accordance with Federal

  Rule of Civil Procedure 41(a)(1)(A)(ii). Being fully advised, the Court hereby ORDERS AND

  ADJUDGES that this matter is DISMISSED with prejudice. Each party shall bear its own fees

  and costs. This action shall remain CLOSED. All pending deadlines and hearings are

  TERMINATED, and any pending motions are DENIED AS MOOT.

        DONE AND ORDERED in Fort Lauderdale, Florida this 31st day of August 2021.




                                                       _________________________________
                                                       ROY K. ALTMAN
                                                       UNITED STATES DISTRICT JUDGE
  cc:   counsel of record
